Case: 2:18-cv-01509-EAS-KAJ Doc #: 389 Filed: 12/30/20 Page: 1 of 1 PAGEID #: 20885




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

  IN RE: DAVOL, INC./C.R. BARD,
                                               Case No. 2:18-md-2846
  INC., POLYPROPYLENE HERNIA
  MESH PRODUCTS LIABILITY
  LITIGATION
                                               JUDGE EDMUND A. SARGUS, JR.
                                               Magistrate Judge Kimberly A. Jolson

  This document relates to:
  Johns v. CR Bard et al,
  Case No. 2:18-cv-01509
                                       ORDER

       On December 22, 2020, Defendants, Davol, Inc., and C.R. Bard, Inc., filed a

Motion to Seal. (ECF No. 386.) During the most recent Case Management Conference,

the Court permitted Defendants to file two documents under seal until the documents’

admissibility could be determined. Then, the parties could address whether the documents

should remain sealed. (ECF No. 380 at PageID# 2039.)

       Accordingly, Defendants’ motion is GRANTED. Defendants may file their

documents under seal.

       IT IS SO ORDERED.


12/30/2020                              s/Edmund A. Sargus, Jr.
DATE                                    EDMUND A. SARGUS, JR.
                                        UNITED STATES DISTRICT JUDGE

12/30/2020                              s/Kimberly A. Jolson
DATE                                    KIMBERLY A. JOLSON
                                        UNITED STATES MAGISTRATE JUDGE




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